943 F.2d 50
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff-Appellee,v.Troy CHERRY, Defendant-Appellant.
    No. 91-6091.
    United States Court of Appeals, Fourth Circuit.
    Submitted Aug. 26, 1991.Decided Sept. 9, 1991.
    
      Appeal from the United States District Court for the Eastern District of Virginia, at Richmond.   Richard L. Williams, District Judge.  (CR-88-202-A)
      Troy Cherry, appellant pro se.
      Debra Sue Straus, Assistant United States Attorney, Alexandria, Va., Robert W. Jaspen, Assistant United States Attorney, Richmond, Va., for appellee.
      E.D.Va.
      DISMISSED.
      Before WILKINSON and WILKINS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      Troy Cherry noted this appeal outside the 60-day appeal period established by Fed.R.App.P. 4(a)(1), and failed to move for an extension of the appeal period within the additional 30-day period provided by Fed.R.App.P. 4(a)(5).   The time periods established by Fed.R.App.P. 4 are "mandatory and jurisdictional."   Browder v. Director, Dep't of Corrections, 434 U.S. 257, 264 (1978) (quoting  United States v. Robinson, 361 U.S. 220, 229 (1960)).   Appellant's failure to note a timely appeal or obtain an extension of the appeal period deprives this Court of jurisdiction to consider this case.   We therefore deny leave to proceed in forma pauperis and dismiss the appeal.   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    